                 Case 19-50821-JKS            Doc 29        Filed 11/04/21     Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                                  Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC,                                     Case No. 17-12560 (JKS)
et al.,1
                                                                        (Jointly Administered)
                         Remaining Debtors.

MICHAEL GOLDBERG, as Liquidating Trustee of the
Woodbridge Liquidation Trust, successor in interest to
the estates of WOODBRIDGE GROUP OF                                      Adversary Proceeding
COMPANIES, LLC, et al.,                                                 Case No. 19-50821 (JKS)

                         Plaintiff,
               vs.
IRA SERVICES TRUST COMPANY, CUSTODIAN                                 Ref Docket No. 26
FOR THE BENEFIT OF BRETT J. PARENT IRA;
BRET J. PARENT,

                         Defendants.


                                      AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

SHARNA WILSON, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Class Action & Claims Solutions, Inc., located at
   777 Third Avenue, New York, New York 10017.I am over the age of eighteen years and am
   not a party to the above-captioned action.




1   The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
    follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
    (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
    91423.



                                                      -1-
               Case 19-50821-JKS         Doc 29       Filed 11/04/21     Page 2 of 4




2. On October 26, 2021, I caused to be served the “Judgment by Default,” dated October 26,
   2021 [Docket No. 26], by causing true and correct copies to be to be enclosed securely in
   separate postage pre-paid envelopes and delivered via first class mail to those parties listed
   on the annexed Exhibit A.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                       /s/ Sharna Wilson
                                                                       Sharna Wilson

 Sworn to before me this
 2nd day of November, 2021
 /s/ Panagiota Manatakis
 Notary Public, State of New York
 No. 01MA6221096
 Qualified in Queens County
 Commission Expires April 26, 2022




                                                -2-
Case 19-50821-JKS   Doc 29   Filed 11/04/21   Page 3 of 4




                    EXHIBIT A
Case 19-50821-JKS   Doc 29   Filed 11/04/21   Page 4 of 4
